                          Case 15-32855 Document 98 Filed in TXSB on 06/06/18 Page 1 of 4
 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)            (post publication draft)
 Debtor 1              Erik Cristian Campos
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         Southern
 United States Bankruptcy Court for the: ______________________             TX
                                                                District of __________
                                                                                    (State)
 Case number            15-32855
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                 10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. Bank Trust National Association, as Trustee                               Court claim no. (if known):
 Name of creditor:                ______________________________________                                         6
                                                                                                                 _________________
                                  of the Igloo Series III Trust
                                                                                               4 ____
                                                                                              ____ 6 ____
                                                                                                      3    3
                                                                                                          ____
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                10002 Kent Towne Ln
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Sugar Land, TX 77478
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                     08    01 2018
                                                                                        ____/_____/______
                                                                                        MM / DD   / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                          (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                 +   (b)   $ __________

        c. Total. Add lines a and b.                                                                                         (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                     ____/_____/______
        due on:                                                                         MM / DD / YYYY


Form 4100R                                                        Response to Notice of Final Cure Payment                              page 1
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Debtor 1        Erik Cristian Campos
                _______________________________________________________                                             15-32855
                                                                                             Case number (if known) _____________________________________
                First Name      Middle Name              Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

  
  x      I am the creditor.
        I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




                /s/ Jennifer R. Bergh, Esq.
                   __________________________________________________
                   Signature
                                                                                             Date    06 06 2018
                                                                                                     ____/_____/________




 Print             Jennifer R. Bergh, Esq.
                   _________________________________________________________                 Title   Authorized Agent for Creditor
                                                                                                     ___________________________________
                   First Name                      Middle Name        Last Name




 Company           The Law Offices of Michelle Ghidotti
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           600 E John Carpenter Fwy., Ste. 200
                   _________________________________________________________
                   Number                 Street


                   Irving, TX 75062
                   ___________________________________________________
                   City                                               State       ZIP Code




 Contact phone      949
                   (______) 427 _________
                            _____– 2010                                                            jbergh@ghidottilaw.com
                                                                                             Email ________________________




Form 4100R                                                       Response to Notice of Final Cure Payment                                       page 2
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 1   Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
     Jennifer R. Bergh, Esq. (SBN 305219)
 2   Kristin A. Zilberstein, Esq. (SBN 200041)
     LAW OFFICES OF MICHELLE GHIDOTTI
 3
     1920 Old Tustin Avenue
 4   Santa Ana, CA 92705
     Ph: (949) 427-2010
 5   Fax: (949) 427-2732
     mghidotti@ghidottilaw.com
 6
 7   Attorney for Creditor
     U.S. Bank Trust National Association, as Trustee of the Igloo Series III Trust
 8
 9                             UNITED STATES BANKRUPTCY COURT
10                    SOUTHERN DISTRICT OF TEXAS – HOUSTON DIVISION
11
12   In Re:                                               )   CASE NO.: 15-32855
                                                          )
13   Erik Cristian Campos,                                )   CHAPTER 13
                                                          )
14            Debtors.                                    )   CERTIFICATE OF SERVICE
15                                                        )
                                                          )
16                                                        )
                                                          )
17                                                        )
18                                                        )
                                                          )
19                                                        )
20
21                                    CERTIFICATE OF SERVICE

22
              I am employed in the County of Orange, State of California. I am over the age of
23
     eighteen and not a party to the within action. My business address is: 1920 Old Tustin
24
25   Avenue, Santa Ana, CA 92705.

26            I am readily familiar with the business’s practice for collection and processing of
27
     correspondence for mailing with the United States Postal Service; such correspondence would
28
     be deposited with the United States Postal Service the same day of deposit in the ordinary

     course of business.
                                                      1
                                       CERTIFICATE OF SERVICE
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 1   On June 6, 2018 I served the following documents described as:
 2                 RESPONSE TO NOTICE OF FINAL CURE PAYMENT
 3
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
 4
     envelope addressed as follows:
 5
 6   (Via United States Mail)
     Debtor                                              Chapter 13 Trustee
 7   Erik Cristian Campos                                David G Peake
     10002 Kent Towne Ln                                 Chapter 13 Trustee
 8
     Sugar Land, TX 77498                                9660 Hillcroft
 9                                                       Suite 430
     Debtor’s Counsel                                    Houston, TX 77096-3856
10   J Thomas Black
11   Attorney at Law                                     U.S. Trustee
     2600 S. Gessner Rd.                                 US Trustee
12   Ste 110                                             Office of the US Trustee
     Houston, TX 77063                                   515 Rusk Ave
13                                                       Ste 3516
14                                                       Houston, TX 77002

15
     _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
16   the United States Postal Service by placing them for collection and mailing on that date
17   following ordinary business practices.

18   ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
     Eastern District of California
19
20   __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct.
21
            Executed on June 6, 2018 at Santa Ana, California
22
23   /s / Ariel Del Pinto
     Ariel Del Pinto
24
25
26
27
28




                                                     2
                                      CERTIFICATE OF SERVICE
